                              Case 18-11801-LSS                     Doc 51   Filed 08/06/18   Page 1 of 6



                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

                                                                                )
In re:                                                                          ) Chapter 11
                                                                                )
J & M SALES INC., et al.,                                                       ) Case No. 18-11801 (LSS)
                                                                                )
                                                        Debtors.1               ) Joint Administration Requested
                                                                                )

          NOTICE OF FILING OF AMENDED CONSOLIDATED LIST OF CREDITORS
                      HOLDING 30 LARGEST UNSECURED CLAIMS

                              PLEASE TAKE NOTICE that August 6, 2018, J & M Sales Inc., and its

 affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

 (“Debtors”), each filed a voluntary petition (the “Petition”) for relief under chapter 11 of title 11

 of the United States Code with the Clerk of the United States Bankruptcy Court for the District

 of Delaware. Attached to each Petition was a Consolidated List of Creditors who have the 30

 Largest Unsecured Claims. The Debtors hereby file the attached Amended Consolidated List of

 Creditors who have the 30 Largest Unsecured Claims.




                                                             
 1
   Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores,
 Inc. (6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island
 Stores, LLC (9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC
 (1924). Debtors’ mailing address is 15001 South Figueroa Street, Gardena, CA 90248.
  


 DOCS_DE:220617.1 59942/001
                  Case 18-11801-LSS   Doc 51     Filed 08/06/18   Page 2 of 6



Dated: August 6, 2018                           PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                                /s/ Peter J. Keane____________________
                                                Richard M. Pachulski (admitted pro hac)
                                                Peter J. Keane (DE Bar No. 5503)
                                                919 North Market Street, 17th Floor
                                                P.O. Box 8705
                                                Wilmington, DE 19899 (Courier 19801)
                                                Telephone: (302) 652-4100
                                                Facsimile: (302) 652-4400
                                                rpachulski@pszjlaw.com
                                                pkeane@pszjlaw.com

                                                -and-

                                                KATTEN MUCHIN ROSENMAN LLP
                                                William Freeman (admitted pro hac)
                                                Karen Dine (admitted pro hac)
                                                Jerry Hall (admitted pro hac)
                                                575 Madison Avenue
                                                New York, NY10022
                                                Telephone: (202) 940-8800
                                                Facsimile: (202) 940-8776
                                                bill.freeman@kattenlaw.com
                                                karen.dine@kattenlaw.com
                                                jerry.hall@kattenlaw.com

                                                Proposed Attorneys for Debtors
                                                and Debtors in Possession




                                           2 
DOCS_DE:220617.1 59942/001
                                     Case 18-11801-LSS                   Doc 51           Filed 08/06/18            Page 3 of 6
 
    Fill in this information to identify the case:


    Debtor name      J & M Sales Inc., et al.
                                                                                                                                                  Check if this is an
                                                                                                                                           √  amended filing
    United States Bankruptcy Court for the District of Delaware


    Case number (if known): 18-11801 (LSS) (Joint Administration Requested)




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
Claims and Are Not Insiders                                                       12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.
Name of creditor and complete               Name, telephone number, and           Nature of the      Indicate if      Amount of unsecured claim
mailing address, including zip              email address of creditor contact     claim              claim is         If the claim is fully unsecured, fill in only unsecured
code                                                                              (for example,      contingent,      claim amount. If claim is partially secured, fill in
                                                                                  trade debts,       unliquidate      total claim amount and deduction for value of
                                                                                  bank loans,        d, or            collateral or setoff to calculate unsecured claim.
                                                                                  professional       disputed
                                                                                  services, and                       Total claim,    Deduction        Unsecured claim
                                                                                  government                          if partially    for value of
                                                                                  contracts)                          secured         collateral or
                                                                                                                                      setoff
         Armouth International              18 W 33RD STREET 5TH FL               Trade                                                                $15,639,826.10
1                                           NEW YORK, NY 10001
         Inc.
                                            Attn: Charles Armouth Levy
                                            Email: charlie@armouth.com
                                            P: (212) 695-7700
         One Step Up Ltd.                   1412 BROADWAY 3RD FL                  Trade                                                                $10,328,228.69
2                                           NEW YORK, NY 10018
                                            Attn: Harry Adjmi
                                            Email: hadjmi@onestepup.com
                                            P: (212) 398-1110
         Louise Paris Ltd.                  1350 BROADWAY                         Trade                                                                $3,979,895.16
3                                           NEW YORK, NY 10018
                                            Attn: Abert Barnathan and
                                            Solomon Barnathan
                                            Email: abarnathan@aol.com;
                                            solomon@louiseparis.com
                                            P: (212) 354-5411
         Seven Apparel                      347 5th AVENUE #201                   Trade                                                                $3,905,520.10
4                                           NEW YORK, NY 10016
                                            Attn: Issac Kassin
                                            Email: isaacm@nptrd.com
                                            P: (212) 481-4844 ext. 211
         Multitex Limited                   918 CHEUNG SHA WAN RD.                Trade                                                                $3,836,825.60
5                                           9/F ANGEL TOWER
                                            KOWLOON, HONG KONG
                                            Attn: Vijay Mohinani
                                            Email: vijay@masonglobal.com
         Allura Imports                     1407 Broadway                         Trade                                                                $3,478,953.44
6                                           Suite 401
                                            New York, NY 10018
                                            Attn: Ness Shalom
                                            Email: ness@alluraimports.com
                                            P: (212) 643-8096
         China Fortune LLC                  401 C OLD MILL ROAD                   Trade                                                                $3,462,719.51
7                                           CARTERSVILLE, GA 30120
                                            Attn: Christina Yang
                                            Email:
                                            Christina.yang@chinafortunellc.c
                                            om
         J.B. Hunt Transport Inc.           FILE 98545                            Trade                                                                $3,441,717.91
8                                           LOS ANGELES, CA 90074-8545
                                            Attn: Mena Botros
                                            Email: mena.botros@jbhunt.com
                                            P: (973) 325-6045

 
Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                page 1
                                  Case 18-11801-LSS                    Doc 51          Filed 08/06/18              Page 4 of 6
Debtor J & M Sales Inc., et al.           Case number (if known) 18-11801 (LSS) (Joint Administration Requested)
  
Name of creditor and complete          Name, telephone number, and             Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip         email address of creditor contact       claim               claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                           (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                               trade debts,        unliquidate     total claim amount and deduction for value of
                                                                               bank loans,         d, or           collateral or setoff to calculate unsecured claim.
                                                                               professional        disputed
                                                                               services, and                       Total claim,    Deduction        Unsecured claim
                                                                               government                          if partially    for value of
                                                                               contracts)                          secured         collateral or
                                                                                                                                   setoff
       Children’s Apparel              77 SOUTH FIRST STREET                   Trade                                                                $3,371,271.86
9                                      ELIZABETH, NJ 07206-1501
       Network (Trend)
                                       Attn: Nathan Shalom
                                       Email: nathan@childapp.com
                                       P: (212) 244-6023
       Trendset Originals LLC          1407 BROADWAY, 5TH FLOOR                Trade                                                                $3,036,247.40
10                                     NEW YORK, NY 10018
                                       Attn: Albert Chehebar and JJ
                                       Gabay
                                       Email: Albertc@skiva.com;
                                       jj@skiva.com
                                       P: (212) 736-9520
       Ascendance Apparels             2600 W OLIVE AVE                        Trade                                                                $2,754,802.20
11                                     BURBANK, CA 91505
       LLC
                                       Attn: Mahesh Harwani and
                                       Lokesh Harwani
                                       Email:
                                       maheshh@ascendanceapparels.
                                       com; lokeshh@asianmarl.tw
       Oceanic Trading                 1006 ELEVENTH AVENUE                    Trade                                                                $2,748,006.94
12                                     NEPTUNE, NJ 07753-5174
       Company
                                       Attn: Neil Saada
                                       Email:
                                       neil@oceanictradingco.com
                                       P: (800) 942-2139
       Lorency & Co.                   1384 BROADWAY, SUITE 801                Trade                                                                $2,586,249.09
13                                     NEW YORK, NY 10018
                                       Attn: Sonny Kafif
                                       Email: sonny@lorency.com
                                       P: (212) 868-1380
       Basicline Inter Ltd.            RAMA IMPEX, INC.                        Trade                                                                $2,486,082.78
14                                     7664 SAN FERNANDO ROAD
                                       UNIT 11
                                       SUN VALLEY, CA 91352
                                       Attn: Rajesh Mirpuri
                                       Email:
                                       rashesh@basicline.com.hk
                                       P: +011 (852) 3552-5500
       S & L Home Fashions             5601 DOWNEY RD.                         Trade                                                                $2,442,896.20
15                                     VERNON, CA 90058
                                       Attn: Bhart Manwani
                                       Email:
                                       bmanwani@slhomefashions.com
                                       P: (323) 587-0800
       Fishman & Tobin Inc.            4000 CHEMICAL ROAD                      Trade                                                                $2,430,085.49
16                                     SUITE 500
                                       PLYMOUTH MEETING, PA
                                       19462-1708
                                       Attn: Steven Pinkow
                                       Email:
                                       stevenpinkow@globalgrandsgrou
                                       p.com
                                       P: (646) 745-3559
       Metro Exports                   206-208 NEW EAST OCEAN                  Trade                                                                $2,313,864.42
17                                     CENTRE
                                       9 SCIENCE MUSEUM ROAD
                                       T.S.T., KOWLOON
                                       Attn: Pishu Mirani
                                       Email: pishu@metroexp.com
       Bhama International             7764 SAN FERNANDO ROAD                  Trade                                                                $2,265,797.46
18                                     UNIT 11
       Inc.
                                       SUN VALLEY, CA 91352
                                       Attn: Rajesh Mirpuri
                                       Email: rajesh@basicline.com.hk
                                       P: +011 (852) 3552-5500

Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                page 2DOCS_DE:220617.1
59942/001
                                  Case 18-11801-LSS                    Doc 51          Filed 08/06/18              Page 5 of 6
Debtor J & M Sales Inc., et al.           Case number (if known) 18-11801 (LSS) (Joint Administration Requested)
  
Name of creditor and complete          Name, telephone number, and             Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip         email address of creditor contact       claim               claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                           (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                               trade debts,        unliquidate     total claim amount and deduction for value of
                                                                               bank loans,         d, or           collateral or setoff to calculate unsecured claim.
                                                                               professional        disputed
                                                                               services, and                       Total claim,    Deduction        Unsecured claim
                                                                               government                          if partially    for value of
                                                                               contracts)                          secured         collateral or
                                                                                                                                   setoff
       Julius Young Hosiery            38-60 BLANCHARD STREET                  Trade                                                                $2,226,809.42
19                                     NEWARK, NJ 07105-4702
       Inc.
                                       Attn: Joseph Hirsch
                                       Email: Joseph@juliusyoung.com
                                       P: (212) 594-1683
       Kidz Concepts                   1412 BROADWAY, 3RD FL                   Trade                                                                $2,218,451.02
20                                     NEW YORK, NY 10018
                                       Attn: Harry Adjmi
                                       Email: hajmi@onestepup.com
                                       P: (212) 398-1110
       Tuff Cookies                    112 WEST 34TH STREET                    Trade                                                                $2,202,067.14
21                                     NEW YORK, NY 10001
                                       Attn: Saul Kredi
                                       Email: Saul@tuffcookies.com
                                       P: (212) 967-4430
       3 WEIII Trading                 FLAT A2,10/F,BLOCK A                    Trade                                                                $1,980,542.85
22                                     PROFISIENT
       Company Limited
                                       INDUSTRIAL CENTRE 6 WANG
                                       KWUN ROAD
                                       KOWLOON BAY
                                       Attn: Lester Jang
                                       Email: lesterjang@yahoo.com
                                       P: +011 (852) 6028-3711
       PEM-American (H.K.)             FLAT 1907,19TH FLOOR                    Trade                                                                $1,862,850.08
23                                     GREAT EAGLE
       Company Limited
                                       CENTRE 23 HARBOUR ROAD
                                       WANCHAI
                                       Attn: Wang Ji
                                       Email: pemam314@outlook.com
                                       P: (516) 713-7925
       Four Seasons Apparel            16180 ORNELAS ST                        Trade                                                                $1,802,885.00
24                                     IRWINDALE, CA 91706
       Inc.
                                       Attn: Ali Safawi and Lydia
                                       Coronado
                                       Email:
                                       asafawi@fourseasonsapparel.net
                                       ;
                                       lcoronado@fourseasonsapparel.
                                       net
                                       P: (626) 334-4446 ext. 204
       North Point Trading Inc.        347 5TH AVENUE, 2ND FL                  Trade                                                                $1,310,505.65
25                                     NEW YORK, NY 10016
                                       Attn: Daniel Srour
                                       Email: daneilj@nptrd.com
                                       P: (212) 481-4844 ext. 211
       Global Accessories              FLAT A1 10/F BLOCK A                    Trade                                                                $1,268,417.43
26                                     PROFECIENT
       Manufacturing Co.
                                       NO. 6
                                       KOWLOON BAY
                                       Attn: Lester Jang
                                       lesterjang@yahoo.com
                                       P: +011 (852) 6028-3711
       Ridhi Sidhi Enterprises         262 W 38TH STREET                       Trade                                                                $1,256,009.73
27                                     SUITE #506
       LLC
                                       NEW YORK, NY 10018
                                       Attn: Rajesh
                                       Email: ridhisidhi402@gmail.com
                                       P: (571) 277-3231
       American Retro                  2601 SEQUOIA DR.                        Trade                                                                $1,218,518.64
28                                     SOUTH GATE, CA 90280
                                       Attn: Tony Paz
                                       Email: tony@caoffprice.com
                                       P: (213) 591-0855




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                page 3DOCS_DE:220617.1
59942/001
                                  Case 18-11801-LSS                    Doc 51          Filed 08/06/18              Page 6 of 6
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Name of creditor and complete          Name, telephone number, and             Nature of the       Indicate if     Amount of unsecured claim
mailing address, including zip         email address of creditor contact       claim               claim is        If the claim is fully unsecured, fill in only unsecured
code                                                                           (for example,       contingent,     claim amount. If claim is partially secured, fill in
                                                                               trade debts,        unliquidate     total claim amount and deduction for value of
                                                                               bank loans,         d, or           collateral or setoff to calculate unsecured claim.
                                                                               professional        disputed
                                                                               services, and                       Total claim,    Deduction        Unsecured claim
                                                                               government                          if partially    for value of
                                                                               contracts)                          secured         collateral or
                                                                                                                                   setoff
       Hot Chocolate, Inc.             1100 WEST WALNUT ST.                    Trade                                                                $1,161,940.25
29                                     COMPTON, CA 90220
                                       Attn: John Dovoudzadeh
                                       Email:
                                       hotchocolateinc@yahoo.com
                                       P: (323) 233-6500
       Estex Home                      1019 EAST 46TH STREET                   Trade                                                                $1,103,274.96
30                                     BROOKLYN, NY 11203-6515
       Fashions/Dynamite
       Dec                             Attn: Jack Imir
                                       Email: jack@estexhome.com
                                       P: (212) 532-5005



 




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                page 4DOCS_DE:220617.1
59942/001
